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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK

SUSAN ROY, on behalf of herself
and all others similarly situated,              Case No. 19-cv-6122
                              Plaintiff,
        v.
                                                CLASS ACTION
ESL FEDERAL CREDIT UNION,
                   Defendant.
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             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW the Plaintiff Susan Roy, by counsel, and for her Class Action Complaint

against the Defendant, she alleges as follows:

                                       INTRODUCTION

       1.      This is a civil action seeking monetary damages, restitution and declaratory relief

from Defendant, ESL Federal Credit Union (“ESL”), arising from the unfair and unconscionable

assessment and collection of Non-Sufficient Funds Fees (“NSF Fees”), which ESL charges when

it returns certain checking account debits unpaid.

       2.      Plaintiff Roy brings this action on behalf of herself and a class of all similarly

situated consumers against ESL arising from the assessment of (a) $37 RI Fees despite the promise

in ESL’s fee schedule that RI Fees would be only $10; and (b) charging multiple $37 RI Fees on

the same transaction, which is barred by the account contract and is deceptive.

       3.       In violation of its contract and reasonable consumer understanding, ESL often

charges more than one RI Fee on the same transaction, even though the contract states—and

reasonable consumers understand—that the same transaction can only incur a single RI Fee. These

double and triple penalties crush accountholders already struggling to make ends meet.

       4.      Indeed, with this improper practice, ESL was able to rack up an astounding $111

in RI Fees on a single $34.93 credit card payment transaction—even though its contract with Ms.

Roy permitted ESL to charge only a single RI Fee of $10.

       5.      This practice works to catch accountholders in an increasingly devastating cycle of

bank fees.




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       6.      Ms. Roy and other ESL customers have been injured by ESL’s practices. On behalf

of herself and the putative class, Ms. Roy seeks damages, restitution and injunctive relief for ESL’s

breach of contract and violation of New York consumer protection law.


                                         JURISDICTION
       7.      This Court has original jurisdiction over this putative class action lawsuit pursuant

to the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) & (6), because the aggregate

sum of the claims of the members of each of the putative classes exceeds $5 million, exclusive of

interest and costs, because Ms. Roy brings this action on behalf of proposed classes that are each

comprised of over one hundred members, and because at least one of the members of each of the

proposed classes is a citizen of a different state than ESL.
       8.      Venue and personal jurisdiction are proper in this district because ESL is located in

a county encompassed by this District.


                               CLASS ACTION ALLEGATIONS

       9.      Ms. Roy brings this action on behalf of themselves and all others similarly situated

pursuant to Rule 23(a), 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure.

This action satisfies the numerosity, commonality, typicality, adequacy, predominance and

superiority requirements of Rule 23.

       10.     The proposed classes are defined as:

               All ESL checking account holders in the United States who, during
               the applicable statute of limitations, were charged RI Fees in an
               amount greater than $10 (the “$10 RI Fee Class”).

               All ESL checking account holders in the United States who, during
               the applicable statute of limitations, were charged multiple Returned
               Item Fees on the same item (the “Multiple RI Fee Class”).

The classes are collectively referred to as the “Classes.”




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       11.     Ms. Roy reserves the right to modify or amend the definition of the proposed

Classes before the Court determines whether certification is appropriate.

       12.     Excluded from the Classes are ESL, its parents, subsidiaries, affiliates, officers and

directors, any entity in which ESL has a controlling interest, all customers who make a timely

election to be excluded, governmental entities, and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       13.     The members of the Classes are so numerous that joinder is impractical. The

Classes consist of thousands of members, the identity of whom is within the knowledge of and can

be ascertained only by resort to ESL’s records.

       14.     The claims of Ms. Roy are typical of the claims of the Classes in that she, like all

Class members, was charged improper Returned Item Fees. Ms. Roy, like all Class members, has

been damaged by ESL’s misconduct in that she paid improper RI Fees. Furthermore, the factual

basis of ESL’s misconduct is common to all Class members, and represents a common thread of

unfair and unconscionable conduct resulting in injury to all members of the Classes.

       15.     There are numerous questions of law and fact common to the Classes and those

common questions predominate over any questions affecting only individual Class members.

       16.     Among the questions of law and fact common to the Classes are whether ESL:

               a.     Charged more than the amount promised for RI Fees;

               b.     Charged multiple RI Fees on a single transaction;

               c.     Breached its contract with consumers by charging multiple RI Fees on a

                      single transaction or by charging more than $10;

               d.     Breached the covenant of good faith and fair dealing by charging multiple

                      RI Fees on a single transaction;



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               e.      Violated New York consumer protection law by charging multiple RI Fees

                       on a single transaction;

               f.      Whether Ms. Roy and the Class were damaged by Defendant’s conduct and

                       if so, the proper measure of damages.

       17.     Ms. Roy is committed to the vigorous prosecution of this action and has retained

competent counsel experienced in the prosecution of class actions and, in particular, class actions

on behalf of consumers and against financial institutions. Accordingly, Ms. Roy is an adequate

representative and will fairly and adequately protect the interests of the Classes.

       18.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual Class member’s claim is

small relative to the complexity of the litigation, and due to the financial resources of ESL, no

Class member could afford to seek legal redress individually for the claims alleged herein.

Therefore, absent a class action, the Class members will continue to suffer losses and ESL’s

misconduct will proceed without remedy. Moreover, given that the improper fees were assessed

in an uniform manner, common issues predominate over any questions, to the extent there are any,

over any questions affecting only individual members.

       19.     Even if Class members themselves could afford such individual litigation, the court

system could not. Given the complex legal and factual issues involved, individualized litigation

would significantly increase the delay and expense to all parties and to the Court. Individualized

litigation would also create the potential for inconsistent or contradictory rulings. By contrast, a

class action presents far fewer management difficulties, allows claims to be heard which might

otherwise go unheard because of the relative expense of bringing individual lawsuits, and provides

the benefits of adjudication, economies of scale and comprehensive supervision by a single court.



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                                               PARTIES
        20.        Plaintiff Susan Roy is a natural person who is a citizen of New York and resides in

Hamlin, New York. Ms. Roy has a personal checking account with ESL.
        21.        Defendant ESL is a credit union with approximately $6.2 billion in assets. It is one

of the largest credit unions in New York. ESL is headquartered in Rochester, New York and

maintains branch locations across the state of New York. ESL’s account holders are located

primarily in New York but, on information and belief, many account holders of ESL are citizens

of other states.

        22.        Ms. Roy is informed and believes, and thereupon alleges, that at least one of the

members of each of the proposed classes is a citizen of a state other than New York.
        23.        Ms. Roy is informed and believes, and thereupon alleges, that numerous individuals

who are citizens of other states and reside outside of New York are in fact members of ESL, and

that many of those non-New York resident members are members of the proposed classes in this

case.

        24.        Even for accountholders who first opened an ESL account while they lived in New

York, many now are citizens of states other than New York. To this point, ESL recently boasted

the following on its website: “With nearly 100 years of locally-owned history, ESL Federal Credit

Union serves as a full-service financial institution to approximately 357,000 members world-

wide.” See https://www.esl.org/about-us/esl-in-the-news/esl-pays-15-million-owners-dividend-

to-members (last visited on February 4, 2019). Upon information and belief, at least one of those

persons is a member of the putative classes.




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                  FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

A.     Examples of ESL’s Imposition of RI Fees on Ms. Roy
       25.     There are numerous instances in which ESL charged $37 RI Fees on transactions

that it returned unpaid, and in which ESL charged multiple RI Fees on a single transaction.

       26.     On November 23, 2018, Ms. Roy attempted a $34.93 transfer to PayPal via an

Automated Clearing House (“ACH”) transaction.

       27.     ESL rejected payment of that transaction due to insufficient funds and charged

Ms. Roy a $37 RI Fee for doing so.

       28.     Six days later, on November 29, 2018, the same transaction was reprocessed for
payment again, and again ESL rejected the transaction due to insufficient funds, and again

charged Ms. Roy a $37 RI Fee.

       29.     ESL expressly referred to this transaction on Ms. Roy’s bank statements as a

“RETRY PYMT,” indicating even ESL understood this transaction to be another iteration of the

same authorization for payment.

       30.     Another month later, on December 31, 2018, the same transaction was

reprocessed for payment yet again, and again ESL rejected the transaction due to insufficient

funds and again charged Ms. Roy a $37 RI Fee for doing so.

       31.     ESL expressly referred to this transaction on Ms. Roy’s bank statements as a

“RETRY PYMT,” indicating even ESL understood this transaction to be another iteration of the
same authorization for payment.

       32.     In sum, ESL charged Ms. Roy $111 in RI Fees to attempt to process a single

$34.93 payment.

       33.     Ms. Roy took no affirmative action to reinitiate or resubmit the payment, which

was reprocessed for payment repeatedly.

       34.     Ms. Roy understood the payment to PayPal be a single transaction, capable at

most of receiving a single RI Fee.




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      B. The Fee Schedule States ESL Will Be Charge $10 for Returned Items, Not $37
         35.   According to ESL’s Fee Schedule which is part of the binding account contract,

the charge for Returned Items is $10:




ESL Federal Credit Union Fee Schedule, Attached hereto as Ex. 1.

         36.   The document thus promises that when an item is returned unpaid, ESL will

charge a single $10 fee. In reality, ESL charges a $37 fee or a $29 fee, in violation of this

promise.

         37.   While a different section of the Fee Schedule states that two different types of

“Overdraft Fees” will cost $37, such provisions cannot apply to returned or unpaid items,

since—by definition—they are not debited from account and can therefore never result in an

“overdraft”:




Id.
         38.   To the extent that ESL alleges that the RI Fee does not apply, its contract

documents are ambiguous and as adhesion contracts should be be construed against ESL. For

instance, the Savings and Checking Disclosure Terms and Account Agreement (“Account

Agreement”), a copy of which is attached hereto as Exhibit A, states:




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       If a deposited item in a joint account is returned unpaid, an account is overdrawn
       or if we do not receive final payment on any transaction, all owners are liable
       jointly and severally to the credit union for the amount of the returned item,
       overdraft or unpaid amount and any charges, regardless of who initiated or
       benefitted from the transaction.


C.     ESL May Not Charge More Than One RI Fee Per Item

       39.     ESL’s Fee Schedule indicates that only a single RI Fee will be assessed per

“item” that is returned due to insufficient funds.

       40.     The same instruction for payment on an account cannot conceivably become a

new “item” each time it is rejected for payment then reprocessed, especially when—as here—

Ms. Roy took no action to resubmit them.

       41.     There is zero indication anywhere in the account documents that the same “item”

is eligible to incur multiple RI Fees.

       42.     In fact, language in the Account Agreement makes this so:

       29. ESL will not pay a check when funds are not available to cover it, and an
       overdraft fee will be assessed (refer to a Fee Schedule for the exact fee charged).
       We are only required to make one determination of the account balance. If that
       determination reveals insufficient available funds to pay the check or other item
       and you have requested CheckOK, unless prohibited by law and in our sole
       discretion, we may honor the check or other item and transfer the amount of
       overdraft from your regular Daily Dividend, Premier Money Maker or Money
       Maker Account; or if we have previously approved a Cash Reserve Account that is
       attached to your share draft account, we will honor checks drawn on insufficient
       funds and add the amount of the overdraft to your Cash Reserve Account up to
       your approved credit limit; or, we may honor checks, ESL Bill Pay transactions
       and reoccurring ACH debit transactions drawn on insufficient funds pursuant to
       our Courtesy Pay agreement (refer to the Courtesy Pay Section in this Agreement).
       ESL is not required to send you prior notice before a check is returned for
       insufficient funds. You may want to ensure that you are covered by taking
       advantage of our Cash Reserve or other account protection programs. For
       information regarding overdrawing Health Savings Accounts, please refer to the
       section above titled FOR HEALTH SAVINGS ACCOUNTS ONLY.

                                                  ....



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       45. You may make withdrawals or transfers from your account in any manner
       which is permitted by the credit union (such as check, ATM, in person, by mail, by
       telephone and automatic transfer, as applicable). Withdrawals are generally made
       first from finally collected funds and, unless prohibited by law or the credit union's
       funds availability policy, ESL reserves the right to refuse to pay any check or
       other item drawn against uncollected funds, impose a fee for such item or both.
       The credit union may pay checks or other items drawn upon your account
       (including those payable to the credit union or on which the credit union may be
       liable) in any order determined by the credit union, even if paying a particular
       check or item results in an insufficient balance in your account to pay one or
       more other items that otherwise could have been paid out of your account.

                                                  ....

       COURTESY PAY

       Pursuant to our commitment to provide valued service and benefits, we may pay
       checks or other items/transactions (“Item” or “ltems”), which would cause your
       share draft account to have a negative (or further negative) balance (herein
       “overdraft”), pursuant to the terms and conditions of this Agreement.

                                                  ....

       You will be notified of any nonsufficient funds Item that has been paid or
       returned; however, you understand that ESL has no obligation to notify you before
       we pay or return any item. We may refuse to pay any overdrafts without first
       notifying you even though your account is in good standing and even if we have
       paid previous overdrafts.

                                                  ....

       An Overdraft/Insufficient Funds fee will be charged to your share draft account, in
       accordance with our Fee Schedule, for each overdraft Item that is cleared on your
       share draft account. In addition, an Overdraft/Insufficient Funds fee will be
       charged by ESL for each “insufficient funds” item presented for payment
       and returned unpaid on a share draft account.

       43.     Any conflicting language in the Account Agreement suggesting that a $37

overdraft fee would be charged must be construed against ESL. Regardless, the above quoted

provisions, and the remaining Account Agreement provisions, make clear that ESL did not

authorize itself to charge multiple RI Fees on a single transaction.




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        44.      In sum, ESL promises that one $10 RI Fee will be assessed per item, “check or

other withdrawal,” and these terms must mean all iterations of the same instruction for payment.

As such, ESL breached the contract when it charged more than one fee per item.

        45.      Consistent with express representations in the contract, reasonable consumers

understand any given authorization for payment to be one, singular “item,” as that term is used in

ESL’s contract documents.

        46.      Upon information and belief, ESL has this same understanding in practice, since

its systems code transactions in a way that alerts the credit union when the same item or

transaction is being re-submitted for payment, viz., as “RETRY PYMT.”

        47.      The contract documents bar ESL from assessing multiple Returned Item Fees on

the same item.

        48.      Financial institutions like ESL that employ this abusive practice know how to

plainly and clearly disclose it. Indeed, other banks that do engage in this abusive practice

disclose it expressly to their accountholders—something Defendant here never did.

        49.      For example, First Citizens Bank, a major institution in the Carolinas, engages in

the same abusive practice as ESL, but at least expressly states:

        Because we may charge a service fee for an NSF item each time it is presented, we may
        charge you more than one service fee for any given item. All fees are charged during
        evening posting. When we charge a fee for NSF items, the charge reduces the available
        balance in your account and may put your account into (or further into) overdraft.

(emphasis added).

        50.      First Hawaiian Bank engages in the same abusive practices as Defendant, but at
least currently discloses it in its online banking agreement, in all capital letters, as follows:
        YOU AGREE THAT MULTIPLE ATTEMPTS MAY BE MADE TO SUBMIT A
        RETURNED ITEM FOR PAYMENT AND THAT MULTIPLE FEES MAY BE
        CHARGED TO YOU AS A RESULT OF A RETURNED ITEM AND
        RESUBMISSION.


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(emphasis added).


       51.       ESL provides no such disclosure, and in so doing, deceives its accountholders.

D.     ESL Abuses Its Discretion

       52.       To the extent the account documents do not explicitly bar the polices described

above, ESL exploits contractual discretion to the detriment of accountholders and breaches good

faith and fair dealing when it uses these policies.

       53.       For example, it was bad faith and totally outside Plaintiff Roy’s reasonable

expectations for the credit union to use its discretion to assess $74 in fees for a single $34.93

PaypPal transaction.

       54.       By not providing clarity or stating whether or not it may charge more than on RI

Fee per item, ESL provides itself discretion to refuse to re-submit transactions that are initially

rejected. It abuses that discretion to repeatedly accepting resubmitted transactions and charging a

fee each time.

       55.       Additionally, ESL grants itself discretion to charge—or not to charge—a RI Fee

on a given transaction. When it charges more than one RI Fee on a given item or transaction,

ESL engages in bad faith and contradicts reasonable consumer expectations.




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                             FIRST CLAIM FOR RELIEF
      Breach of Contract and Breach of the Covenant of Good Faith and Fair Dealing
                         (On Behalf of Plaintiff and the Classes)

        56.     The preceding allegations are incorporated by reference and re-alleged as if fully

set forth herein.

        57.     Ms. Roy and ESL have contracted for bank account deposit, checking, ATM, and

debit card services. That contract provided that ESL will charge $10 for an RI Fee and does not

permit ESL to charge multiple RI Fees for the same item.

        58.     Under the laws of New York, good faith is an element of every contract pertaining

to the assessment of overdraft fees. Whether by common law or statute, all such contracts impose

upon each party a duty of good faith and fair dealing. Good faith and fair dealing, in connection

with executing contracts and discharging performance and other duties according to their terms,

means preserving the spirit – not merely the letter – of the bargain. Put differently, the parties to a

contract are mutually obligated to comply with the substance of their contract in addition to its

form. Evading the spirit of the bargain and abusing the power to specify terms constitute examples

of bad faith in the performance of contracts.

        59.     Subterfuge and evasion violate the obligation of good faith in performance even

when an actor believes his conduct to be justified. A failure to act in good faith may be overt or

may consist of inaction, and fair dealing may require more than honesty. Examples of violations

of good faith and fair dealing include evasion of the spirit of the bargain, willful rendering of

imperfect performance, abuse of a power to specify terms, and interference with or failure to

cooperate in the other party’s performance.

        60.     ESL has breached the covenant of good faith and fair dealing in its account

agreement with customers by charging multiple RI Fees for the same item.



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        61.     ESL also breached the express terms of its contract with Ms. Roy and the Classes

by charging greater than $10 for RI Fees.

        62.     Ms. Roy and members of the Classes have performed all, or substantially all, of the

obligations imposed on them under the contract.

        63.     Ms. Roy and members of the Classes have sustained damages as a result of ESL’s

breach of the contract.

                               SECOND CLAIM FOR RELIEF
                      Violations of New York Consumer Protection Laws
                      (On Behalf of Plaintiff and the New York Subclass)

        64.     The preceding allegations are incorporated by reference and re-alleged as if fully

set forth herein.

        65.     This claim is asserted on behalf of the subclass of ESL customers who are New

York residents and enjoy the protections of Article 22-A of the New York General Business Law,

the Consumer Protection from Deceptive Acts and Practices Law, N.Y. Gen. Bus. Law §§ 349 et

seq., which prohibits “[d]eceptive acts or practices in the conduct of any business, trade or

commerce or in the furnishing of any service.” N.Y. Gen. Bus. Law § 349(a).

        66.     ESL’s policies and practices complained of herein were and are consumer-oriented,

in that they affect all consumers who maintain checking accounts with ESL.

        67.     The complained-of policies and practices were and are misleading in a material

respect, because ESL promised to charge RI Fees in the amount of $10, and Ms. Roy and the

Classes did not agree to pay more than one RI Fee per transaction.

        68.     Ms. Roy and members of the New York Subclass were injured as a result of ESL’s

policies and practices, in that their accounts were debited by ESL in violation of their agreements

with ESL.



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         69.   ESL’s actions were willful and knowing.

         70.   As redress for ESL’s repeated and ongoing violations of these consumer protection

statutes, Ms. Roy and members of the New York Subclass are each entitled to (a) injunctive relief,

and (b) three times actual damages (up to $1,000.00). See N.Y. Gen. Bus. Law § 349(h).

         44.   Due to ESL’s violation of Regulation E (12 C.F.R. § 1005.17), Ms. Roy and

members of the Class are entitled to actual and statutory damages, as well as attorneys’ fees and

costs of suit pursuant to 15 U.S.C.A. § 1693m.

                                    PRAYER FOR RELIEF

         WHEREFORE, Ms. Roy and members of the National Class and the New York Subclass

demand a jury trial on all claims so triable and judgment as follows:

         45.   Declaring ESL’s RI Fee policies and practices to be wrongful, unfair and

unconscionable;

         46.   Restitution of all RI Fees paid to ESL by Ms. Roy and the Class above $10 per

transaction;

         47.   For each member of the National Class, actual damages in an amount according to

proof;

         48.   For each member of the New York Subclass, the lesser of (a) three times actual

damages in an amount according to proof, or (b) $1,000;

         49.   Pre-judgment interest at the maximum rate permitted by applicable law;

         50.   Costs and disbursements assessed by Ms. Roy in connection with this action,

including reasonable attorneys’ fees pursuant to applicable law; and

         51.   Such other relief as this Court deems just and proper.




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                              TRIAL BY JURY IS DEMANDED

       Plaintiff respectfully demands a trial by jury on all issues so triable.

Dated: February 15, 2019                      Respectfully submitted,
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